Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43                   Page:1 of 26


                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

     IN RE:
                                                     CHAPTER 13
     Darryll L. Barksdale,                           CASE NO.: 18-10622-SDB
     Sheryl C. Barksdale,
            Debtors.

     SELENE FINANCE LP,

                               Movant,
     v.

     Darryll L. Barksdale,                           CONTESTED MATTER
     Sheryl C. Barksdale,
            Debtors,
     Huon Le,
            Trustee,
                               Respondents.

                MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           COMES NOW, Selene Finance LP (the “Movant”), by and through its

    undersigned counsel, moves for relief from the automatic stay and alleges as follows:

                                                1.

           The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP

    4001(a), and the various other applicable provisions of the United States Bankruptcy

    Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of

    America.

                                                2.

           Darryll L. Barksdale and Sheryl C. Barksdale (the “Debtors”), filed a petition for

    relief under Chapter 13 of the Bankruptcy Code on May 1, 2018.
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43                     Page:2 of 26


                                                   3.

            Movant is the holder or servicer of a loan secured by certain real property in

    which the Debtor(s) have an interest. Movant holds a security interest in the Debtor’s

    real property now or formerly known as 3532 Richmond Hill Road, Augusta, Georgia

    30906 (hereinafter referred to as “Property”) by virtue of a Security Deed dated June 24,

    2008. Said Security Deed secures a Note in the original principal amount of $144,855.00.

    The promissory note has been duly endorsed. Secured Creditor is the holder of the note

    ("noteholder"), and is either the original Mortgagee, beneficiary, or assignee of the

    security instrument for the referenced loan. Noteholder directly or through an agent has

    possession of the promissory note and the Promissory note is either made payment to

    noteholder or has been duly endorsed.



                                                   4.

            Movant alleges that the Debtor(s) are in default to Movant under the terms of the

    loan documents, having failed to make certain post-petition mortgage payments that have

    come due. As of May 3, 2022 the post-petition arrearage owed to Movant is $17,293.61

    and consists of eight (8) monthly mortgage payments at $822.65 and twelve (12) monthly

    mortgage payments at $949.08 for a total of $17,293.61 less a suspense balance of

    $676.55. An additional payment will come due June 1, 2022 and on the first day of each

    month thereafter until the loan is paid in full.

                                                   5.

            Movant further alleges there appears to be no equity in the Property; therefore, the

    Property is not necessary for effective reorganization. The current unpaid principal
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43                      Page:3 of 26


    balance due under the loan documents is approximately $125,016.98. The Property is

    most recently valued at $109,965.00 by the Richmond County Tax Assessor’s Office.

                                                 6.

           Movant’s security interest in the Property is not adequately protected due to the

    Debtor(s)’ failure to maintain the mortgage payments.

                                                 7.

           Movant has incurred attorney’s fees and costs as a result of filing this motion.

    These fees and costs are recoverable pursuant to the loan documents, and Movant seeks

    leave to recover these fees and costs under the remedies available therein.

                                                 8.

           Pursuant to 11 U.S.C. § 362, Movant alleges that sufficient cause, including lack

    of adequate protection, exists for the automatic stay to be terminated.



           WHEREFORE, Movant respectfully prays to the Court as follows:

                   (a) That the automatic stay under 11 U.S.C. § 362 be modified to allow

                           Movant to pursue state remedies to protect its security interest in

                           the Property, including, but not limited to, advertising to effectuate

                           a foreclosure sale and gaining possession of the Property; to

                           contact the Debtor via telephone or written correspondence to

                           discuss potential loan workout or loss mitigation opportunities; and

                           to perform property preservation as appropriate;

                   (b) That Movant's attorney's fees and costs incurred in filing and

                           prosecuting this Motion be recoverable as pursuant to the loan

                           documents and remedies available therein;
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43                   Page:4 of 26


                 (c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be

                         waived;

                 (d) That Movant be permitted to offer and provide Debtor(s) with

                         information regarding a potential forbearance agreement, loan

                         modification, refinance agreement, or other loan workout/loss

                         mitigation agreement, and to enter into such an agreement with

                         Debtor(s).

                 (e) That in the event of an Order granting relief from the automatic stay

                         and said Order also instructing the Chapter 13 Trustee to cease

                         disbursements on Movant’s Proof of Claim, Fed. R. Bank. P.

                         3002.1 shall no longer apply as to Movant, as said Rule only

                         applies in Chapter 13 cases in which claims secured by a principal

                         residence are provided for under Section 1322(b)(5) of the Code in

                         the Chapter 13 Plan; and

                 (f) For such other and further relief the Court deems just and proper.

    Date: May 11, 2022
                                               Robertson, Anschutz, Schneid, Crane
                                               & Partners, PLLC

                                               /s/ Andrea L. Betts
                                               Andrea L. Betts
                                               Georgia Bar # 432863
                                               10700 Abbott's Bridge Road, Suite 170
                                               Duluth, GA 30097
                                               Telephone: 470-321-7112
                                               Fax: 404-393-1425
                                               Email: abetts@raslg.com
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:5 of 26




                Supporting Docs
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:6 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:7 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:8 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:9 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:10 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:11 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:12 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:13 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:14 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:15 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:16 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:17 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:18 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:19 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:20 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:21 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:22 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:23 of 26
GSCCCA.org - Image Index                                                                Page 1 of 2
       Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:24 of 26
                                                                                 Page 2 of 2
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:25 of 26
Case:18-10622-SDB Doc#:40 Filed:05/11/22 Entered:05/11/22 09:58:43   Page:26 of 26
